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                                            IN THE UNITED STATES BANKRUPTCY COURT
                                                FOR THE DISTRICT OF PUERTO RICO

 In Re:
                                                                                                             Case No.:    19-0246 5 - ESL
SANDRO FUENTES GARCIA
                                                                                                             Chapter 13


XXX-XX- 0329                       XXX-XX-                                                    Check if this is a Pre-Confirmation amended plan.

Debtor(s)
                                                                                              Check if this is a Post Confirmation amended plan
                                                                                              Proposed by:
                                                                                                                 Debtor(s)
 PR Local Form G                                                                                                 Trustee
 Chapter 13 Plan dated                               6/27/2019             .                                     Unsecured Creditor(s)

                                                                                              If this is an amended plan list below the sections
                                                                                              of the plan that have been changed.
                                                                                          2.1 3.1 3.6                                  8
                                                                                                             4.4

                                                                                                             4.6


 PART 1 - Notices
 To Debtors:              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does
                          not indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district.
                          Plans that do not comply with local rules and judicial rulings may not be confirmable.

                          In the following notice to creditors, you must check each box that applies.

 To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                         You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                         have an attorney, you may wish to consult one. The headings contained in this plan are inserted for reference purposes
                         only and shall not affect the meaning or interpretation of this Plan.

                          If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an
                          objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise
                          ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
                          confirmation is filed. See Bankruptcy Rule 3015. In addition, you must file a timely proof of claim in order to be paid under
                          this plan, unless ordered otherwise.

                         If a claim is withdrawn by a creditor or amended to an amount less than the amount already distributed under the
                         plan on account of such claim: (1.) The Trustee is authorized to discontinue any further disbursements to related claim; (2.)
                         The sum allocated towards the payment of such creditor's claim shall be distributed by the Trustee to Debtor's remaining
                         creditors. (3.) If such creditor has received monies from the Trustee (Distributed Payments), the creditor shall return funds
                         received in excess of the related claim to the Trustee for distribution to Debtor's remaining creditors. (4.) If Debtor has
                         proposed a plan that repays his or her creditors in full, funds received in excess of the related claim shall be returned to the
                         Debtor.

                          The following matters may be of particular importance. Debtors must check one box on each line to state whether or not
                          the plan includes each of the following items. If an item is checked as "Not Included'' or if both boxes are checked,
                          the provision will be ineffective if set out later in the plan.


 1.1      A limit on the amount of a secured claim, set out in Section 3.2, which may result in a                        Included          Not included
          partial payment or no payment at all to the secured creditor

 1.2      Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out
                                                                                                                         Included          Not included
          in Section 3.4

 1.3      Nonstandard provisions, set out in Part 8                                                                      Included          Not included




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PART 2- Plan Payments and Length of Plan
2.1      Debtor(s) will make payments to the trustee as follows:

        PMT Amount            Period(s)       Period(s) Totals                                             Comments
          $751.00                12                 $9,012.00
          $950.00                48                $45,600.00 Adjustment of debtors expenses




         Subtotals               60                $54,612.00
Insert additional lines if needed

 If fewer than 60 months of payments are specified. additional monthly payments will be made to the extent necessary to make the payments to
creditors specified in this plan.
2.2    Regular payments to the trustee will be made from future income in the following manner:

         Check all that apply.
            Debtor(s) will make payments pursuant to a payroll deduction order
            Debtor(s) will make payments directly to the trustee.
            Other (specify method of payment):

2.3      Income tax refunds:

        Debtor(s) will supply the trustee with copy of each income tax return filed during the plan term within 14 days of the filing the return and
        will comply with 11 U.S.C. § 1325(b)(2). If the Debtor(s) need(s) to use all or a portion of such ''Tax Refund,'' Debtor(s) shall seek
        court authorization prior to any use thereof.

2.4 Additional payments:

         Check one.
             None. If "None'' is checked, the rest of § 2.4 need not be completed or reproduced.
            Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, estimated amount,
           and date of each anticipated payment.




PART 3- Treatment of Secured Claims
3.1 Maintenance of payments and cure of default, if any.

       Check one.

           None. If "None" is checked, the rest of § 3.1 need not be completed or reproduced.

            The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by
        the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or directly
        by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with
        interest, if any, at the rate stated, pro-rated unless a specific amount is provided below. Unless otherwise ordered by the court, the amounts
        listed on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the
        current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If
        relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all
        payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the
        plan. The final column includes only payments disbursed by the trustee rather than by the debtor(s).


         Name of Creditor                 Collateral                   Current                  Amount of        Interest           Monthly             Estimated total
                                                                       Installments             arrearage        rate on            Plan PMT            payments by
                                                                       Payments                 (if any)         arrearage          on arrearage        trustee
                                                                       (including escrow)                        (if any)



      BANCO POPULAR DE PUERTO RICO    RESIDENCE                    $
                                                                             531.00         $
                                                                                                     4,092.20               %   $                   $
                                                                                                                                                                4,092.20
                                                                       Disbursed by:
                                                                          Trustee
                                                                          Debtor(s)


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      Name of Creditor Collateral    Current       Amount of     Interest Monthly                                                                                       Estimated total
                                  Document
                                     Installments Page    3 of 11rate
                                                   arrearage          on  Plan PMT                                                                                      payments by
                                                                      Payments                  (if any)             arrearage             on arrearage                 trustee
                                                                      (including escrow)                             (if any)


                                                              $                             $                                    %     $                            $
                                                                                                                                                                                       0.00
                                                                      Disbursed by:
                                                                        Trustee
                                                                         Debtor(s)
      Name of Creditor             Collateral                         Current                   Amount of             Interest                 Monthly                  Estimated total
                                                                      Installments              arrearage             rate on                  Plan PMT                 payments by
                                                                      Payments                  (if any)              arrearage                on arrearage             trustee
                                                                      (including escrow)                              (if any)

                                                              $                             $                                    %     $                            $
                                                                                                                                                                                       0.00
                                                                      Disbursed by:
                                                                         Trustee
                                                                         Debtor(s)

      Name of Creditor             Collateral                         Current                   Amount of             Interest                 Monthly                  Estimated total
                                                                      Installments              arrearage             rate on                  Plan PMT                 payments by
                                                                      Payments                  (if any)              arrearage                on arrearage             trustee
                                                                      (including escrow)                              (if any)

                                                              $                             $                                    %     $                            $
                                                                                                                                                                                       0.00
                                                                      Disbursed by:
                                                                         Trustee
                                                                         Debtor(s)

       Name of Creditor            Collateral                          Current                      Amount of         Interest                 Monthly                      Estimated total
                                                                       Installments                 arrearage         rate on                  Plan PMT                     payments by
                                                                       Payments                     (if any)          arrearage                on arrearage                 trustee
                                                                       (including escrow)                             (if any)

                                                                  $                             $                                %         $                            $
                                                                                                                                                                                        0.00
                                                                      Disbursed by:
                                                                          Trustee

       Insert additional claims as needed.                                Debtor(s)

3.2    Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.
         None. If "None'' is checked, the rest of § 3.2 need not be completed or reproduced.
       The remainder of this paragraph will be effective only if the applicable box in Part I of this plan is checked.
         The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim
        listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured claim. For
        secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of claim filed in
        accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of the secured claim
        will be paid in full with interest at the rate stated below.
         The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this
         plan. If the amount of a creditor's secured claim is listed below as having no value, the creditor's allowed claim will be treated in its entirety
         as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor's total claim listed on the
         proof of claim controls over any contrary amounts listed in this paragraph.

         The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property
         interest of the debtor(s) or the estate(s) until the earlier of:
         (a) Payment of the underlying debt determined under nonbankruptcy law, or
         (b) Discharge of the underlying debt under 11 U.S.C. §1328, at which time the lien will terminate and be released by the creditor. See
         Bankruptcy Rule 3015.
         Name of Creditor           Estimated         Collateral           Value of                 Amount of        Amount of       Interest         Monthly PMT            Estimated
                                    Amount of                              Collateral               Claims           Claims          Rate %           to Creditor            Total of
                                    Creditor's                                                      Senior to                                                                Monthly PMTs
                                    Total Claim                                                     Creditor's
                                                                                                    Claim


                                    $                                     $                          $           $                             % $                           $       0.00
                                    $                                     $                          $           $                             % $                           $       0.00
                                    $                                     $                          $           $                              % $                          $       0.00
                                    $                                     $                          $           $                              % $                          $       0.00
                                    $                                     $                          $           $                              % $                          $       0.00
                                    $                                     $                          $           $                              % $                          $       0.00
       Insert additional claims as needed.

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 3.3 Secured claims excluded from 11 U.S.C. § 506.
       Check one.
           None. If "None'' is checked, the rest of § 3.3 need not be completed or reproduced.

          The claims listed below were either:

            (1) Incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for
            the personal use of the debtor(s), or
            (2) Incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.


            These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the
            trustee or directly by the debtor, as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim
            filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a
            contrary timely filed proof of claim, the amounts stated below are controlling. The final column includes only payments disbursed by the
            trustee rather than by the debtor.

       Name of Creditor                      Collateral                         Amount of     Interest        Monthly Plan                   Estimated total
                                                                                Claim         Rate            payment                        payments by Trustee

                                                                        $                          %      $                          $              0.00
                                                                                                          Disbursed by:
                                                                                                                  Trustee
                                                                                                                   Debtor(s)

        Name of Creditor                      Collateral                        Amount of      Interest           Monthly Plan               Estimated total
                                                                                Claim          Rate               payment                    payments by Trustee

                                                                            $                        %        $                          $           0.00
                                                                                                              Disbursed by:
                                                                                                                    Trustee
                                                                                                                    Debtor(s)
      Insert additional claims as needed.

3.4 Lien Avoidance.
    Check one.
      None. If "None'' is checked, the rest of § 3.4 need not be completed or reproduced.
    The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.


       The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
    debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or security interest securing
    a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The amount of the
    judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The amount, if any, of the
    judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy
     Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each lien


   Information regarding                         Calculation of lien avoidance                                                   Treatment of remaining secured
   judicial lien or security                                                                                                     claim
   interest

   Name of creditor                              a. Amount of lien                                  $                            Amount of secured claim after
                                                                                                                                 avoidance (line a minus line f)
                                                 b. Amount of all other liens                       $
   Collateral                                                                                                                    $
                                                                                                                                                            0.00
                                                 c. Value of claimed exemptions
                                                 +                                                  $


                                                                                                                                 Interest rate

                                                 d. Total of adding lines a, b and c                $                                                %              Months
                                                                                                                                                      Starting on
                                                                                                                                                      Plan Month


                                                 e. Value of Debtor's interest in property          $
                                                 -
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      Lien identification (such as
      judgment date, date of lien
      recording, book and page
                                                                                                                        Monthly payment on secured claim
      number)


                                                  f. Subtract line e from d.                           $               $
                                                                                                                                                     0.00

                                                  Extent of exemption impairment                                       Estimated total payments on
                                                                                                                       secured claim
                                                  (check applicable box)
                                                                                                                       $                             0.00
                                                    Line f is equal to or greater than line a.
                                                  The entire lien is avoided (Do not complete the next column.)

                                                     Line f is less than line a.
                                                  A portion of the lien is avoided. (Complete the next column.)

 Insert additional lines as needed.

3.5      Surrender of collateral.
          Check one.
               None. If "None'' is checked, the rest of § 3.5 need not be completed or reproduced

               The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor's claim. The debtor(s)
            request that upon confirmation of this plan the stay under 11 U.S.C. §362(a) be terminated as to the collateral only and that the
            stay under §1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will
            be treated in Part 5 below.

           Name of creditor                                                          Collateral

         COOP RICO DAIRY                                                            SHARES




         Insert additional claims as needed.

3.6      Pre-Confirmation Adequate Protection Monthly Payments (''AMP") to be paid by the trustee.

               Payments pursuant to 11 USC §1326(a)(1)(C):
               Name of Secured Creditor                   $ Amount of APMP                                          Comments


           FIRSTBANK                                           $100.00                      FROM FILING OF CLAIM TO CONFIRMATION




           Insert additional claims as needed.


           Pre-confirmation adequate protection payments made through the Plan by the trustee are subject to corresponding statutory fee.




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3.7    Other Secured Claims Modifications.
       Check one.
          None. If "None'' is checked, the rest of § 3.7 need not be completed or reproduced.
          Secured Claims listed below shall be modified pursuant to 11 U.S.C. § 1322(b)(2) and/or § 1322(c)(2). Upon confirmation, the Trustee
          shall pay the allowed claim as expressly modified by this section, at the annual interest rate and monthly payments described below. Any
          listed claim will be paid in full through disbursements by the trustee, with interest, if any, at the rate stated, pro-rated unless a specific
          amount is provided below. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the filing deadline
          under Bankruptcy Rule 3002(c) control over any contrary amounts listed below. In the absence of a contrary timely filed proof of claim, the
          amounts stated below are controlling

      Name of creditor                Claim       Claim amount      Modified   Modified Modified   Property       Property       Total monthly Estimated
                                      ID#                           interest   term     P&I        Taxes          Insurance      Payment       total PMTs
                                                                    rate       (Months) (Escrow)   (Escrow)                                    by trustee

      FIRSTBANK DE PR                 2-1     $     31,488.07             %            $           $          $                 $              $   31,488.07
                                                  To be paid
                                              in full 100%


                                              $                           %            $           $          $                 $              $            0.00
                                                       To be paid
                                                  in full 100%


                                              $                           %            $           $          $                 $              $            0.00
                                                      To be paid
                                                  in full 100%




        Insert additional claims as needed.




PART 4- Treatment of Fees and Priority Claims
4.1     General

        Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
        without postpetition interest.

4.2     Trustee's Fees

        Trustee's fees are governed by statute and may vary during the term of the plan, nevertheless are estimated for confirmation purposes to be
        10 % of all plan payments received by the trustee during the plan term.

4.3 Attorney's fees

      Check one

             Flat Fee: Attorney for Debtor(s) elect to be compensated as a flat fee their legal services, up to the plan confirmation, according to
           LBR 2016-1 (f)
  OR
              Fee Application: The attorneys' fees amount will be determined by the Court, upon the approval of a detailed application for fees and
           expenses, filed not later than 14 days from the entry of the confirmation order.

                         Attorney's fees paid pre-petition                                                    $                500.00

                         Balance of attorney's fees to be paid under the plan are estimated to be:            $               2,500.00

                         If this is a post-confirmation amended plan, estimated attorney's fees:              $                     0.00




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4.4   Priority claims other than attorney's fees and those treated in §§ 4.5, 4.6.
       Check one.
          None. If ''None'' is checked, the rest of § 4.4 need not be completed or reproduced.

          The Debtor(s) estimate the total amount of other priority claims to be                                     $11,450.71

             Name of priority creditor                                                                           Estimate amount of claim to be paid
       Departamento de Hacienda ( ELA Treasury Department)                                                       $

                                                                                                                 $

                                                                                                                 $

                                                                                                                 $



        Insert additional claims as needed.


4.5     Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
        Check one.
            None. if "None'' is checked, the rest of § 4.5 need not be completed or reproduced.

           The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
          governmental unit and will be paid less than the full amount of the claim under 11 U.S.C.. § 1322(a)(4). This plan provision requires that
          payments in § 2.1 before a term of 6O months; see 11 U.S.C.§1322(a)(4).

             Name of creditor                                                                                    Estimated amount of claim to be paid

                                                                                                                     $

                                                                                                                     $

                                                                                                                     $

                                                                                                                     $



        Insert additional claims as needed.


4.6     Post confirmation property insurance coverage
        Check one.
          None. If "None'' is checked, the rest of § 4.6 need not be completed or reproduced.


           The debtor(s) propose to provide post confirmation adequate protection to the secured creditors listed below by providing property insurance coverage.



       Name of creditor insured                                    Insurance                        Insurance coverage     Estimated insurance     Estimated total
                                                                   Company                          beginning date         premium to be paid      payments by trustee
                                                 Debtor will provide insurance upon expiration of
       FIRSTBANK DE PR                           insurance                                           May 24, 2024          $                       $

                                                                                                                           Disbursed by:
                                                                                                                               Trustee
                                                                                                                               Debtor(s)
                                                                                                                           $                       $

                                                                                                                           Disbursed by:
                                                                                                                              Trustee
                                                                                                                               Debtor(s)

          Insert additional claims as needed.




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PART 5- Treatment of Nonpriorltv Unsecured Claims
5.1    Nonpriority unsecured claims not separately classified.

       Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata. If more than one option is checked. the option
       providing the largest payment will be effective. Check all that apply.
           The sum of $

                       % of the total amount of these claims, an estimated payment of $
           The funds remaining after disbursements have been made to all other creditors provided for in this plan.

            If the estate of the Debtor(s) were liquidated under chapter 7. nonpriority unsecured claims would be paid approximately $

5.2    Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one
       Check one.

          None. If ''None'' is checked, the rest of § 5.2 need not be completed or reproduced.


           The Debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below
       on which the last payment is due after the final plan payment. Contractual installment payments will be disbursed either by the trustee or directly
       by the Debtor(s), as specified below. The claim for the arrearage amount will be paid in full as specified below and disbursed by the trustee.
       The final column includes only payments disbursed by the trustee rather than by the Debtor(s).


       Name of creditor                                                         Current installment                   Amount of arrearage       Estimated total
                                                                                payments                              to be paid                payments by
                                                                                                                                                trustee


                                                                                $                                      $                        $

                                                                                 Disbursed by:
                                                                                     Trustee
                                                                                     Debtor(s)


                                                                                $                                     $                         $

                                                                                Disbursed by:
                                                                                    Trustee
                                                                                    Debtor(s)


       Insert additional claims as needed.

5.3    Other separately classified nonpriority unsecured claims. Check one.
       Check one.
           None. If ''None'' is checked, the rest of § 5.3 need not be completed or reproduced.


           The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows:

       Name of creditor                           Base for separate                 Treatment               Amount to be paid Interest Rate         Estimated total
       (Claim No.)                                classification                    (to be paid pro rata)   on the claim      (if applicable)       amount of
                                                                                                            (if applicable)                         payments

                                                                                        In full - 100%      $                               %       $         0.00
                                                                                        Less than 100%

                                                                                        Paid by co-deblor

                                                                                        Other (explain)



                                                                                        In full - 100%      $                               %       $         0.00
                                                                                        Less than 100%

                                                                                        Paid by co-deblor

                                                                                        Other (explain)


       Insert additional claims as needed.



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PART 6- Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts and
     unexpired leases are rejected. Check one.
          Check one.
              None. If ''None'' is checked, the rest of § 6.1 need not be completed or reproduced.


             Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified below,
          subject to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column includes only payments
          disbursed by the trustee rather than by the debtor(s).


      Name of creditor                     Description of leased            Current             Amount of         Treatment of        Estimated total
                                           property or executory            installment         arrearage to      arrearage           payments by trustee
                                           contract                         payment             be paid           (Refer to other
                                                                                                                  plan section if
                                                                                                                  applicable)

                                                                            $                   $                 $                   $

                                                                             Disbursed by:
                                                                                Trustee
                                                                                Debtor(s)

                                                                            $                   $                 $                   $

                                                                             Disbursed by:
                                                                                Trustee
                                                                                Debtor(s)


          Insert additional claims as needed.


PART 7- Vesting of Property of the Estate & Plan Distribution Order
7.1       Property of the estate will vest in the debtor(s) upon

          Check the applicable box:

             plan confirmation.
             entry of discharge

             other:

7.2       P I an Distribution by the Trustee will be in the following order:
          (Numbers bellow reflects the order of distribution; same number means prorate distribution among claims with same number.)

      1.- Distribution on Adequate Protection Payments (Part 3, Section 3.6)
      1.- Distribution on Attorney's Fees (Part 4, Section 4.3)
      1.- Distribution on Secured Claims (Part 3, Section 3.1) - Current contractual installment payments
      2.- Distribution on Post Confirmation Property Insurance Coverage (Part 4, Section 4.6)
      2.- Distribution on Secured Claims (Part 3, Section 3.7)
      2.- Distribution on Secured Claims (Part 3, Section 3.1) - Arrearage payments
      3.- Distribution on Secured Claims (Part 3, Section 3.2)
      3.- Distribution on Secured Claims (Part 3, Section 3.3)
      3.- Distribution on Secured Claims (Part 3, Section 3.4)
      3.- Distribution on Unsecured Claims (Part 6, Section 6.1)
      4.- Distribution on Priority Claims (Part 4, Section 4.4)
      5.- Distribution on Priority Claims (Part 4, Section 4.5)
      6.- Distribution on Unsecured Claims (Part 5, Section 5.2)
      6.- Distribution on Unsecured Claims (Part 5, Section 5.3)
      7.- Distribution on General Unsecured claims (Part 5, Section 5.1)

          Trustee's fees are distributed before each of the distributions above described pursuant to 28 U.S.C. § 586(e)(2)




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 PART 8- Nonstandard Plan Provisions

 8.1    None. If ''None'' is checked, the rest of Part 8 need not be completed or reproduced.

 Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
 the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

 Each paragraph must be numbered and labeled in boldface type, and with a heading stating the general subject matter of the

 paragraph. The following plan provisions will be effective only if there is a check in the box ''Included'' in § 1.3.




 8.2    This provision supplements Part 3 to provide for the lifting of the stay upon the confirmation of th plan
        in favor of firstbank proof of claim NO 3-1 since the vehicle is being paid by debtor's spouse.
        the Trustee will not make any distribution as secured unless a defficiency claim is filed.
 8.3    This provision supplements Part 4.6 Post Confirmation Property Insurance Coverage to specify that
        debtor will provide the insurance once the insurace expires. The Trustee will not pay the insurance.



 8.4    Part 3.1 of the plan proposes that mortgage arrears in favor of BPPR will be paid by the Trustee
        of endorsement. Debtor however authorize Trustee to make payments to such claim. Upon confirmayion of yhe plan,
        Debtor on his behalf and behalf of the estate , hereby hold the Chapter 13 Trustee harmeless
        of and forever waive any claims from legal or financial liability for payment of arrears
        inclueded in the above mentioned claim to the party in interest or to its future assignee's property notified during the period
        of the plan, nothwithstanding that such claim is filed withot evidence of endorsement of the mortgage
        note.




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Insert additional lines as needed.


PART 9- Signature(s)

 s/ Melissa Cofan Hernández                                                                           Date        June 27, 2019
Signature of attorney of Debtor(s))
PO Box 944, Dorado, PR 00646
USDC 224206
Tel 787-640-6882
                                                                                                      Date


                                                                                                      Date

Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)
By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also certify(ies) that the
wording and order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any
nonstandard provisions included in Part 8.


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